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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION

  MELINDA SCOTT,                               )
                                               )
                    Plaintiff,                 )      Case No. 2:20CV00014
                                               )
  v.                                           )             ORDER
                                               )
  WISE COUNTY DEPARTMENT                       )      JUDGE JAMES P. JONES
  OF SOCIAL SERVICES, ET AL.,                  )
                                               )
                    Defendants.                )


       In this ended case, in which judgment was entered against the pro se plaintiff

 on August 30, 2021, and the plaintiff’s appeal from that judgment is pending in the

 court of appeals, the plaintiff has filed a Motion for Injunction and sought from the

 Clerk a subpoena. These requests are immaterial to the merits of the case, which are

 before the court of appeals.

       It is ORDERED that Motion for Injunction, ECF No. 113 is DENIED and the

 Clerk is directed not to issue the subpoena requested by the plaintiff.

                                               ENTER: November 29, 2021

                                               /s/ JAMES P. JONES
                                               Senior United States District Judge
